Case 8:13-cv-00010-JVS-JPR Document 41 Filed 07/26/13 Page 1 of 3 Page ID #:379




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     Attorneys for Plaintiff ALEXANDER FAH
  13 and the Class
  14                       UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
  15
     ALEXANDER F AH, individually and            Case No. SACV 8:13-00010 JVS(JPRx)
  16 on behalf of all others similarly situated,
  17                                             DECLARATION OF MICHAEL
                  Plaintiff,                     SCHWARTZ IN SUPPORT OF L.R.
  18                                             37-2 JOINT STIPULATION ON
  19        v.                                   PLAINTIFF'S MOTION TO
                                                 COMPEL PRODUCTION OF
  20 WOLVERINE WORLD WIDE, INC., a DOCUMENTS AND COMPLETE
  21 Delaware Corporation,                       FED. R. CIV. P. 26(a)(I) INITIAL
                                                 DISCLOSURES
  22              Defendant.
  23                                             Magistrate Judge: Jean P. Rosenbluth
                                                 Date: August 29, 2013
  24                                             Time: 10:30 a.m.
  25                                             Ctrm: 6A
  26                                           Class Cert. Mot.:     Dec. 16,2013
  27                                           Discovery Cutoff:     June 23, 2014
                                               Pretrial Conf.:       Sept. 15,2014
  28                                           Trial:                Sept. 30, 2014
                                                    DECLARATION OF MICHAEL A. SCHWARTZ
                                                  IN SUPPORT OF L.R. 37-2 JOINT STIPULATION
                                                        ON PLAINTIFF'S MOTION TO COMPEL
                                                          PRODUCTION OF DOCUMENTS AND
                                                           COMPLETE INITIAL DISCLOSURES
                   Case 8:13-cv-00010-JVS-JPR Document 41 Filed 07/26/13 Page 2 of 3 Page ID #:380




                      1        I, Michael A. Schwartz, declare the following under the penalty of perjury of
                      2 the laws of the United States:
                      3         1.    I am an attorney duly licensed to practice law in the State of New York,
                      4 and I have been admitted pro hac vice in this action.
                      5        2.     I am a Partner at Horwitz, Horwitz & Paradis, Attorneys at Law,
                      6 counsel for Plaintiff in this Action.
                      7        3.     I submit this Declaration in support of Plaintiff s Motion to compel
                      8 defendant Wolverine World Wide, Inc. to: (1) produce documents in response to
                      9 Plaintiffs First Request for the Production of Documents dated April 30, 2013; and
~
                     10 (2) provide complete Fed. R. Civ. P. 26(a)(1) initial disclosures.
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~            .;2     11        4.     I have personal knowledge of each of the facts set forth in this
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O~@                  12 Declaration and, if required to do so, could and would competently testify thereto.
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            ell
                     13         5.    Annexed as Exhibit 1 hereto is a true and correct copy of the First
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~g£                  14 Amended Class Action Complaint filed by Plaintiff in this Action on April 23, 2013
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             1=0     15 [Dkt. No. 21-1].
                     16        6.     Annexed as Exhibit 2 hereto is a true and correct copy of the Court's
                     17 Civil Minutes - General filed in this action on May 6, 2013 [Dkt No. 31].
                     18        7.     Annexed as Exhibit 3 hereto is a true and correct copy of the Reporter's
                     19 Transcript of Proceedings dated May 6, 2013 [Dkt No. 29].
                     20        8.     Annexed as Exhibit 4 hereto is a true and correct copy of Joint Report
                     21 Pursuant to Federal Rule of Civil Procedure 26(f)(2) filed in this action on April 29,
                     22 2013 [Dkt No. 27].
                     23        9.     Annexed as Exhibit 5 hereto is a true and correct copy of the Court's
                     24 Order Setting Rule 26(f) Scheduling Conference filed in this action on January 25,
                     25 2013 [Dkt No.5].
                     26         10.   Annexed as Exhibit 6 hereto is a true and correct copy of Defendant's
                     27 Rule 26(a)(1) Initial Disclosures dated June 10,2013.
                     28                                                    DECLARATION OF MICHAEL A. SCHWARTZ
                                                                         IN SUPPORT OF L.R. 37-2 JOINT STIPULATION
                                                                               ON PLAINTIFF'S MOTION TO COMPEL
                                                                                 PRODUCTION OF DOCUMENTS AND
                                                                                  COMPLETE INITIAL DlSCLOSURES
Case 8:13-cv-00010-JVS-JPR Document 41 Filed 07/26/13 Page 3 of 3 Page ID #:381




   1         11.   Annexed as Exhibit 7 hereto is a true and correct copy of a letter from
   2 Mark Butler to Michael J. Bums, Esq. Eric R. McDonough, Esq. and Eugene S. Suh,
   3 Esq. dated June 18,2013.
   4         12.   Annexed as Exhibit 8 hereto is a true and correct copy of a letter from
   5 Eugene S. Suh, Esq. to Mark Butler, Esq. dated June 21,2013.
   6         13.   Annexed as Exhibit 9 hereto is a true and correct copy of Plaintiff s
   7 First Request for the Production of Documents dated April 30, 2013.
   8         14.   Annexed as Exhibit 10 hereto is a true and correct copy of a letter from
   9 Eugene S. Suh, Esq. to Mark Butler, Esq. dated June 7, 2013 and Defendant's
  10 Response to Plaintiff s First Request for the Production of Documents dated June 7,
  11 2013.
  12         15.   Annexed as Exhibit 11 hereto is a true and correct copy of a letter from
  13 Mark Butler to Michael J. Bums, Esq., Eric R. McDonough, Esq., and Eugene S.
  14 Suh, Esq. dated June 17,2013.
  15         16.   Annexed as Exhibit 12 hereto is a true and correct copy of a letter from
  16 Eugene S. Suh, Esq. to Mark Butler, Esq. dated June 25,2013.
  17         17.   Annexed as Exhibit 13 hereto is a true and correct copy of the Class
  18 Action Complaint filed by Plaintiff in this Action on January 2,2013 [Dkt No.1].
  19         Sworn to under penalty of perjury under the laws of the United States this 26 th
  20 day of July, 2013.
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  28                                             2      DECLARATION OF MICHAEL A. SCHWARTZ
                                                      IN SUPPORT OF L.R. 37-2 JOINT STIPULATION
                                                            ON PLAINTIFF'S MOTION TO COMPEL
                                                              PRODUCTION OF DOCUMENTS AND
                                                               COMPLETE INITIAL DISCLOSURES
